                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,

                                Plaintiff,

                 v.                                 Case No. 20-00224-01-CR-W-DGK

 BRIAN PONTALION,

                                Defendant.

                              GOVERNMENT’S RESPONSE
                        IN OPPOSITION TO DEFENDANT’S MOTION
                      FOR RECONSIDERATION OF DETENTION ORDER

       The Government respectfully requests that this Court deny the defendant’s Motion for

Reconsideration of Detention Order filed on October 30, 2020. (Doc. 22.) The defendant’s motion

is filed pursuant to 18 U.S.C. § 3145(b) for reconsideration of the detention order (Doc. 10) of the

Honorable Jill A. Morris, United States Magistrate Judge, directing that the defendant be detained

pending trial.

       The Court’s decision was supported by the record of a detention hearing at which the

Government presented substantial evidence to prove the requisite bases for detention — namely,

that the defendant would pose a flight risk and a danger to the community if released on bond.

There is no reason to disturb the detention order, particularly in a case such as this where there is

a statutory presumption in favor of detention.

                       I. Procedural History and Background Information

       On August 27, 2020, the defendant was arrested on a Complaint filed that same day,

charging him with possession with intent to distribute methamphetamine, in violation of 21 U.S.C.

§§ 841(a)(l) and (b)(1)(B). (Doc. 1.) On September 1, 2020, a detention hearing was held before




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Judge Morris on the Government’s motion for detention. (Doc. 9.) The evidence at the hearing

included a stipulation of the parties that the factual contents of the Pretrial Services Report would

serve as the direct testimony of the Pretrial Services Officer who prepared the report. (Id.)

       At the conclusion of the hearing, Judge Morris ordered the defendant detained, finding

reason to believe that no condition or combination of conditions of release would reasonably

assure the appearance of the defendant and the safety of the community. (Doc. 9.) On September 2,

2020, the Court issued a written detention order. (Doc. 10.) In reaching the decision to detain

the defendant, the Court noted the existing rebuttable presumption under 18 U.S.C. § 3142(e)(3).

(Id., p. 2.) That presumption is that “no condition or combination of conditions will reasonably

assure the appearance of the defendant as required and the safety of the community.” (Id.) The

Court found the rebuttable presumption was applicable “because there is probable cause to believe

that the defendant committed one or more of the following offenses [specifically,] an offense

for which a maximum term of imprisonment of 10 years or more is prescribed in the Controlled

Substances Act (21 U.S.C. §§ 801-904) . . . .” (Id.)

       The Court further found that “[t]he defendant has not introduced sufficient evidence to

rebut the presumption above, and detention is ordered on that basis.” (Id.) That finding, by itself,

was sufficient to justify the Court’s order of detention. The Court, however, also made additional

findings of fact and law. The Court considered the detention factors set forth in 18 U.S.C.

§ 3142(g) and specifically concluded the defendant must be detained pending trial because the

Government has proven: “[b]y clear and convincing evidence that no condition or combination of

conditions of release will reasonably assure the safety of any other person and the community,”

and “[b]y a preponderance of evidence that no condition or combination of conditions of release

will reasonably assure the defendant’s appearance as required.” (Id.) The Court noted additional

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reasons for its ruling noting the following factors: (1) the weight of the evidence against the

defendant is strong; (2) the defendant is subject to a lengthy period of incarceration if convicted;

(3) the defendant’s prior criminal history; (4) the defendant’s participation in criminal activity

while on probation, parole, or supervision; (5) the defendant’s history of violence or use of

weapons; (6) the defendant’s history of alcohol or substance abuse; (7) the defendant’s lack of

stable employment; (8) the defendant’s prior attempts to evade law enforcement; and (9) the

defendant’s prior violations of probation, parole, or supervised release. (Id. at 2-3). The Court

further noted the following in support of its detention order:

        The instant offense included very dangerous driving while law enforcement officers
        were surveilling the defendant. When defendant began exiting his vehicle, officers
        approached defendant. He returned to his vehicle and sped away, striking one
        police vehicle before striking a light pole several blocks away. He then attempted
        to flee on foot but was quickly apprehended by officers. His criminal record
        indicates failures to appear, pending felony assault charges, and municipal
        violations for eluding.

Ultimately, based on these multiple factors, the Court ordered that the defendant be detained.

(Id. at 3).

                                 II. Argument and Authorities

        This Court should deny the defendant’s motion to reconsider detention. The findings of

Judge Morris after considering the evidence presented at the detention hearing are still applicable.

Measured against the legal standards set forth below, the defendant was properly detained pending

trial by Judge Morris, and the only new evidence the defendant presents – his potential placement

in the Salvation Army Adult Rehabilitation Center – is insufficient to overcome the applicable

presumption of detention. 1



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         Section 3145(b), which governs a motion for revocation of a magistrate judge’s detention
order, provides: “If a person is ordered detained by a magistrate judge . . . the person may file,
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        Under the terms of the Bail Reform Act, 18 U.S.C. § 3141, et seq., a defendant shall be

detained pending trial if, after a hearing, “the judicial officer finds that no condition or combination

of conditions will reasonably assure the appearance of the person as required and the safety of any

other person and the community.” 18 U.S.C. § 3142(e)(1). To determine whether such conditions

exist, courts consider evidence regarding: (i) the nature and circumstances of the offense charged;

(ii) the weight of the evidence against the person; (iii) the history and characteristics of the person,

including whether the person was on other release pending trial at the time of the charged offense;

and (iv) the nature and seriousness of the danger to any person or the community that would be

posed by the person’s release. Id. § 3142(g). To justify detention, the government must show by

clear and convincing evidence that no such conditions will reasonably assure the safety of the

community, or by a preponderance of the evidence that no such conditions will reasonably assure

the defendant’s appearance. United States v. Abad, 350 F.3d 793, 797 (8th Cir. 2003).

        Where, as here, there is probable cause to believe the defendant committed a violation of

21 U.S.C. §§ 841(a)(1) and (b)(1)(B) (Count One of the Complaint), a statutory presumption in

favor of detention arises that “no condition or combination of conditions will reasonably assure

the appearance of the person as required and the safety of the community.” 18 U.S.C.

§ 3142(e)(3)(A). As the Eighth Circuit explained:

                In a presumption case such as this, a defendant bears a limited
                burden of production — not a burden of persuasion — to rebut that
                presumption by coming forward with evidence he does not pose a
                danger to the community or a risk of flight. Once a defendant
                has met his burden of production relating to these two factors, the



with the court having original jurisdiction over the offense, a motion for revocation or amendment
of the order. The motion shall be determined promptly.” 18 U.S.C. § 3145(b). This Court reviews
detention orders under a de novo standard. See, e.g., United States v. Maull, 773 F.2d 1479, 1481
(8th Cir. 1985) (en banc) (discussing § 3145(b)).
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               presumption favoring detention does not disappear entirely, but
               remains a factor to be considered among those weighed by the
               district court.

Abad, 350 F.3d at 797 (quotations and citations omitted).

       Gauged by these standards, the Government met its burden of proving that the defendant

poses a danger to the community and a risk of flight, particularly in light of the statutory

presumption in favor of detention. Judge Morris’s findings establish the defendant failed to prove

by clear and convincing evidence that he was not a danger to the community, or by a

preponderance of the evidence that he was not a flight risk. The defendant’s current motion relies

on nearly the same information available to the Court at the time of his detention hearing. The only

difference is that the defendant now alleges that he has a placement in The Salvation Army Adult

Rehabilitation Center. (Doc. 22 at 1-2.) However, the Court was aware of the defendant’s

substance abuse history and did not find that placement in a treatment facility would be

appropriate. Instead, the Court determined that “no condition or combination of conditions “will

reasonably assure the safety of any other person and the community” and “the defendant’s

appearance as required.” (Doc. 10 at 2.)

       The evidence presented by the Government established the defendant would be a risk to

the community if released. The Government incorporates the evidence and arguments presented

at the defendant’s detention hearing. However, it would like to point out a few key pieces

of evidence before the Court. Specifically, the facts surrounding the underlying offense involve

fleeing from law enforcement officers during a high speed chase that placed the community at risk.

Moreover, the weight against the defendant is strong as officers recovered methamphetamine from

his possession, and the defendant is facing a potentially lengthy period of incarceration. The

defendant also has an extensive criminal history and has failed to comply with conditions

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of release in the past. In light of the substantial evidence before the Court in favor of detention, the

defendant’s effort to rebut the presumption in favor of detention merely based on a placement

in The Salvation Army Adult Rehabilitation Center is unpersuasive. Therefore, the Government’s

evidence and the statutory presumption in favor of detention remain unrebutted.

                                           III. Conclusion

        The defendant’s motion should be denied based on his continued failure to rebut the

presumption in favor of detention. The record makes clear that the Government has met its burden

of proving the defendant would pose a danger to the community and a risk of flight if granted

pretrial release. Accordingly, there is no reason to disturb Judge Morris’s previous ruling. Based

on the record before the Court, there is no need for an additional hearing. For all of the foregoing

reasons, the Government respectfully requests that this Court deny the defendant’s motion to

reconsider detention.

                                                         Respectfully submitted,

                                                         Timothy A. Garrison
                                                         United States Attorney

                                                By       /s/ Sarah J. Rasalam

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                              CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a copy of the foregoing was delivered on
November 13, 2020, to the CM-ECF system of the U.S. District Court for the Western District of
Missouri for electronic delivery to counsel of record.

                                                  /s/ Sarah J. Rasalam

                                                  Sarah J. Rasalam
                                                  Special Assistant United States Attorney




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